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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


EDIBLE IP, LLC; and EDIBLE                    Civil Action No. 4:20-cv-05840
ARRANGEMENTS, LLC,

     Plaintiffs,

v.

MC BRANDS, LLC; and GREEN THUMB
INDUSTRIES INC.,

     Defendants.


MC BRANDS, LLC; and GREEN THUMB
INDUSTRIES INC,

     Counterclaim-Plaintiffs,

v.

EDIBLE IP, LLC; and EDIBLE
ARRANGEMENTS, LLC,

     Counterclaim-Defendants.


         JOINT STATUS REPORT REGARDING DISCOVERY AND SETTLEMENT
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       Plaintiffs Edible IP, LLC and Edible Arrangements LLC (“Plaintiffs”) and Defendants MC Brands,

LLC and Green Thumb Industries Inc. (“Defendants”), by and through their attorneys, respectfully submit

this Joint Status Report Regarding Deposition and Settlement Dates, as requested by the Court during the

April 26, 2022 pre-settlement hearing (Dkt. No. 61).

          I.    Deposition Schedule of Plaintiffs’ Witnesses

       Defendants served the below Notices of Deposition pursuant to Federal Rule of Civil Procedure

30(b)(1), (b)(6).

            •   Rule 30(b)(6) Notice of Deposition of Plaintiffs
            •   Rule 30(b)(1) Notice of Deposition of Tariq Farid
            •   Rule 30(b)(1) Notice of Deposition of Paul Bundonis
            •   Rule 30(b)(1) Notice of Deposition of Ron Reynolds

       The parties have agreed to the following date for depositions above:

            •   Deposition of Bundonis: Thursday, May 12th
            •   Deposition of Farid: Wednesday, May 18th

       Defendants propose the following dates for the remaining depositions:

           •    Rule 30(b)(6) deposition of Plaintiffs: Tuesday May 17th
           •    Rule 30(b)(1) deposition of Reynolds: Friday, May 20th

       Plaintiffs have indicated that Mr. Reynolds is not available for deposition on May 20th and Plaintiffs

are looking into other alternative availabilities of Mr. Reynolds for deposition prior to the Settlement

Conference. Plaintiffs are also looking into their availability for a corporate deposition on May 17th.

       Defendants do not accept a single day for both an individual and 30(b)(6) deposition.

       Pursuant to Federal Rule of Civil Procedure 45, Defendants served the below Notices of Subpoena

for Deposition and Document Production:

           •    Notice of Subpoena for Deposition to Bill Sluben (scheduled for May 9, 2022)
           •    Notice of Subpoena for Deposition to Husain Abdullah (awaiting confirmation of deposition
                date from Mr. Abdullah’s counsel)

       It is possible that the documents subsequently produced by Plaintiffs and/or subpoenaed third

parties may identify further witnesses for deposition.

         II.    Proposed Dates for Settlement Conference
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       During the April 26, 2022 hearing, it was requested that the parties find a mutually agreeable date

for the settlement conference during the week of June 13. The parties have conferred but scheduling

conflicts make that particular week difficult. Defendants have proposed the week of July 11, 2022 for the

settlement conference, as an alternative. Plaintiffs are checking dates for that week, and the parties will

jointly update the Court as soon as possible.
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Dated: May 2, 2022

TROUTMAN PEPPER HAMILTON SANDERS,         GREENBERG TRAURIG LLP
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on May 2, 2022 the foregoing was filed which will automatically

give notice to the parties’ counsel of record.


                                                           /s/ Mikhael F. Tomlinson




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